 

Case 3:19-cv-00223-MMD-CLB Documenti-1 Filed 05/ Page 1 of 12 /
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Prison Number
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
Ri chard. t awe [
Plainciff,

caseno, _3:19-Cv-00223
(To |

Darlenetolfelp King

wee co CIVIL RIGHTS COMPLAINT
PURSUANT TO

42 U.S.C. § 1983

 

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Defendant(s)

A. JURISDICTION

   

 

Nh This complaint alleges that the civil rights of Plaintif?, ichond FAwel

(Print Plaintiff's name)

who presently resides a PX -NVieg iAia. St fr BL. were

violated by the actiuns of the below named individuals which were directed against

_
rainsirer REN Manc\On ACT on the foilowing dates 2, | k

(instilution/city where violation occurtcd) .

42 ‘ . ,and
ae z (Count H) (Count 11)

 

Revised 10-7-16

 
 

Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 2 of 12

COUNT

\
The following civil rights has been ba' er: Tt JUL nM u) lad Le. eo

unget orth oa “FeSthcoank
Bzetare.. The pen gS es Caygrt __

 

Supporting Facts: (Include all fact you consider :mportani. S:ate the facts clearly,
in your own words, and without citing legal authority or argument. Be sure you
describe exactly what cach specific defendant (by name) did :o violate your rights]

na  Dprlene. Holy Sreld Kia yuh le under _
giving Testimony efore 2.

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mn en asked \ Shee WAS. Contact ever made

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Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 3 of 12

 

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E. REQUEST FOR RELIEF

1 believe that I am entitled to the following relicf:

for The She ihe anced pe and *heSuffer

 

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5d, 000 haf ensecti on 4 shia She put
Aen,e ough WEThiAg Less.
Uunderstand that a false statement or answer to any question in this complaint wil

subject me to penalties of perjury. { DECLARE UNDER PENALTY OF PERJURY
UNDER THE LAWS OF THE UNITED STATES OF AMERICA THAT THE
FOREGOING IS TRUE ANDC ,

Ct. Sce 28U.SC. § 1746 and 18 U.S.C. § 1621

Na 5 red ¢ (Signature of d Fou,
Pere yee laing if not Plaintitt)

(Name qf Person wHO prepared or helped
mys
3-3-1.

Dare)
(Additional space if needed; identify what is being continued)

  
   

 
Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 4 of 12

6) Defendant = _sereesidecs at -

(full name of first defendant) (address if first defendant)

andisemployed as | . This defendant ts sued in his/he-
(defendant's position and tile, tf any)

— <ndividual ____ official capacity. (Check one or both). Explain how this defendant was
acting

 

under color of law:

7) Jurisdiction 1s invoked pursuant to 28 U.S.C. § 1343 (a)(3) and 42 U.S.C. § 1983. Ifyou wish
to assert jurisdiction under dilferent or additional statutes, list them below.

B. NATURE OF TRE CASE
1) Briefly state the background of your case.

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On Felrum AY 2015 The. Selerdant} tts
‘this macrier erun wn gate and oLare the _

 

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C. CAUSE OF ACTION
Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 5 of 12

ACKNOWLEDGMENT

{, the undersigned, acknowledge that [ have read the foregoing and that the information
contained therein is true and correct to my own knowledge and belief.

Further, | state that | have not directly or indirectly paid or caused to be paid to any inmate,
agent of an inmate, or family member of any inmate a sum of moncy, favors or anything else for
assistance in the preparation of this document or any other document in connection with this action.

Further, | acknowledge that if any of the information included in this motion for leave to
proceed in forma pauperis is false or misleading, | understand that sanctions may be imposed against
me. Those sanctions may include, but are not limited tu. the following:

(1) — dismissal of my case with prejudice:

(2) imposition of manctary sanctions:

(3) the Nevada Department of Prisons may bring disciplinary proceedings for a violation
of MJ-48 of the Code of Penal Discipline, which can include all sanctions authori:red
under the Code including the loss of good Lime credits and punitive confinement: and

(4) perjury charges.

Further, | hereby authorize the United States District Court, District of Nevada, or its
representative, to investigate my financial status, and authorize any individual, corporation, or
governmental entity to release any such intonnation to the said Court or ils representative.

Further. | acknowledge and consent that a portion of any recovery, as directed by the court,
shall be paid to the clerk for reimbursement of all fees and costs incurred by me as a result of heing
granted leave to proceed in forma puuperis.

Dated this 3] day of N\neeh . 20 14 ‘
Sebel Pose

J understand that a falsc statement or answer to any question in this declaration will subject
me to penalties of perjury. 1 DECLARE UNDER PENALTY OF PERJURY UNDER THE
LAWS OF THE UNITED STATES OF AMERICA THAT THE FOREGOING IS TRUE AND
CORRECT, See 28 U.S.C. § 1746 and 18 U.S.C. § 1621.

Signed at hte hos Cousty Sa \ Richecrel Mote Lp
Location) (Signature)
3-31-9019 #409156 __
(Date) (Inmate Prison Number)
 

Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 6 of 12

Make 8 copy of this page to provide the helaw
information if you arc naming i ra five (5) defendants

2) DetenanacleneHol. yoeld Ki fice 31480. Wet Kena Ake)

(full name of first uke dant) (address if first defendant)
and is employed as Unenp layed __ _. . + Vhis defendan: is sued in hissher
(defendant's positfon and utle, if any)

x individual official capacity. (Check one or both). Explain how this defendant was

acting
c color of: ne.
The Kens oN oa dec Path andDurinctestimony beCo
3) Defendast er ee, FeSIdeS at

{ful name ol first defendant) {address if first deterdant)
and is employed as {1 . This defendant is sued in his/her
(defendants position ane tithe, if any)
-/. dividual ___ official capacity. (Check one or buth). Explain how this defendant wa;
acing

under color of law:

 

4)Detendant . _ fesides at

 

(full name of first defendant) (address if first defendant) _
and 1s employed as This defendant is sucd in his*he-

 

 

 

{defendant's position anc title, if @ any)

— individual ____ official capacity. (Check one or both). Explain how this defendant was
acting

under color oflaw:

5) Deicndant residesat.
(tull name of first defendant) (address if first defendant)
and 1s employed as . This defendant is sucd in his/her
(defendant's position and title, if any)
—— individual ___ official capacity. (Check one or both). Explain how this defendant was
acting

 

under color of law:

 
Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 7 of 12

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

INSTRUCTIONS FOR FILING A CIVIL RIGHTS COMPLAINT
BY AN INMATE UNDER 42 U.S.C. § 1983

A. Who May Use This Form

You rust use the attached form # you are an mmate. The attached 42 US.C. § 1983
civil rights complaint form is designed to help ‘nmates prepare a complaint seeking relief for
alleged violations of their federal civil rights. Tnese complaints typically concern, bul are noi
limited to, conditions of confinement

Do not use tnis form if you are chaiienging the length of your sentence or the validity of
your conviction. If you want to challenge a stato conviction or sentence. you should file a
petition under 28 U.S.C. § 2254 for writ of nabeas corous by a person in state custody. If you
want to challenge a federal conviction or sentence. you should file a motion under 28 USC. §
2255 to vacate sentence in the federal court that entered judgment.

B. Filing a § 1983 Civil Rights Action

To initiate a § 1983 civil rights action you nust submit. (1) a completed complaint form
and (2) a check or money order for $400 (which includes the $350 filing tee and the $5C
administrative fee), or an inmate application to proceed in forma pauperis.

you have the money to pay the full $400 filing fee, please send a check or money
order made payable to "CLERK, U.S. DISTRICT COURT" with your complaint

If you are unable to pay the entre filing fee at the time you submit your complaint, please
complete an inmate's application to proceed in forma pauperis You may requesl the packel

tiled “In‘ormation for Filing an Application to Proceed in Forma Pauperis by an Inmate under 28
U.SC. § 1915."

in civil actions filed by pro se (self-rapresented) inmates, the action must be fileo :n the
unofficia! division of the court in which the inmate is incarcerated when the complaint is
submitted for filing See Local Rules of Practice for the United States District Court for the
District of Nevada ("LR") 1A 1-6, 1-8. Tne Clerk of the Court maintains offices in Las Vegas and
Reno at the following addresses: :

Unofficial Southern Division (Clark, Esmeralda, Lincoln, & Nye counties):
U.S. District Court Office of the Clerk
333 Las Vegas Boulevard, South, Room #1334
Las Vegas, NV 89101

Unofficial Northern Division (al other counves):
U.S. District Court Office of the Clerk
400 S. Vieginia Street, Room #301
Reno. NV 89501

If you are incarcerated at a facility that uses electronic filing. please continue to use
electronic filing.

Page 1 of 3
Revised 10/7/16
Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 8 of 12

outline).

a) Defendants:

b) Name of court and docket number: ___

 

 

c) Disposition (for example, was the case dismissed . appealed or is it still pending”):

 

d) Issues raised:

 

2) Approximate date twas filed:

) Approximate date of disposition:

Have you filed an action in federal court that was dismissed because it was determined to
be frivolous, malicious, or failed to state a claim upon which relief could he granted?
—— Yes x No [fF your answer is "Yes", describe cach lawsuit. (I you had more than
three actions dismissed bascd on the above reasuns, describe the others an an additional page
following the buiow outline.)

Lawsuit #1 dismissed as frivolous, malicious, or tailed to state a claim:

a} Defendants:

 

 

 

 

b) Name of court and case number: bebe eee cee ee

¢) The case was dismissed because tt was found to be (check one): frivolous
____ malicious or _____ failed tw state a claim upon which relie? could be granted.

d) Issues raised: eee ene ee ee

e) Approximate date it was filed: lee

f) Approximate date of disposition: . __.

Lawsuit #2 dismussed as trivoluus, malicious. or failed to state a claim:

a) Nefendants:

 

b) Name of court and case number:

 
Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 9 of 12

&) The case was dismussed because it was found (> be (check one): frivolous

 

malicious or failed to state a claim upon wiich relief could be granted.

 

d} Issues catsed: Coes cee ee ce eee cee ones ee cent
e) Approximate date it was filed: _ — _..
:) Approximate date of disposition —__ . _

Lawsuit #3 dismissed as frivolous, mat:cious,-or failed to state a claim.

a} Defendants: epee eens eee eo ee we ten eee
b) Name ufcourtand case wamber, eens
o) The case was dismissed because it was found to be (check one) frivolous

 

. malicious or failed to state aclam upon which relief could be granted.

d) Issues raiyed: eee eee a eee pec te svat: - .
e) Approximate date twas filed. | oe
n Approximate date of disposition -

3) Have you attempted to resolve the dispute stated in this action ay seeking relicf from the

pruper administrative officials, e.g., have you exhausted available adininistratve yrigvance
procedures? Yes xX No. If your answer ts “No”, did you not altempt administrative
relief because the dispute involved the validity of a. (1) ____ disciplinary hearing: (2)
state or federal court decision; (3) ___ state or federal law or regulation; (4) ___. parole
board decision; or (5}___ other | oe te oe ee be
It your answer is “Yes”, provide the following information. Grievance Number

Date and institution where grievance was tiled

ee ie

Response to grievance:

 

 

 
 

Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 10 of 12

COUNT Uf
The following civil rights bas been violated: __

Supporting Facts: (Include alt fact you consider important State the facts clearly,
in your own words, and without citing Icgal authority or argument. Be sure you
describe exactly what each specific defendant (by name) did to violate your rights}

 

 

 

 

 

 
Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 11 of 12

COUNT {tt
The following civil rights has been violated:

 

Supporting Facts: [Include all (act you consider important. State the facts clearly,

 

 

in your own words, and without citing legal autaority ur argument. Be sure you
describe exactly what each specific defendant (by name) did to violate your rights].

 

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D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

1) Have you filed other actions in state or fedggal courts involving the same or simifar tacts
as involved in this action? Yes . No. lf your answer is “Yes”, describe each
lawsuit. (if more than onc. describe the others on an additional page following the below
Case 3:19-cv-00223-MMD-CLB Document 1-1 Filed 05/01/19 Page 12 of 12

STATEMENT OF NON-REPRESENTATION

INMATE ASSISTANCE PROGRAM

You have asked to meet with an attorney or other legal professional from Washoe
Legal Services (“WLS”) through its Inmate Assistance Program (“IAP”). By
signing below, you acknowledge that you have read and that you understand the
following:

Pursuant to Rule 6.5 of the Nevada Rules of Professional Conduct, the IAP
is a program that provides short-term limited legal services to inmates in
the Washoe County Detention Facility.

There is no expectation that WLS will provide any continuing
representation regarding the legal matters that the inmate discusses with
WLS.

WLS is not agreeing to act as your attorney for any type of case. WLS only
provides access to basic legal resources to assist inmates with their right to
access the courts.

WLS is only required to assist inmates with non-criminal legal issues that
need to be addressed while the inmate is in the custody of the Washoe
County Detention Facility.

Discussing your legal issues with a WLS attorney will not preclude another
WLS attorney from representing an individual whose interests are adverse
to your interests.

If you have read and understand this statement, please sign and date where
indicated below. If you have any questions or concerns regarding this document,
you should discuss them with the WLS representative before you sign it. If you
do not raise any questions or concerns, you will be presumed to understand this
statement and agree to comply with its terms.

Date: 4 - 10 - XOIY
Signature: Riz hae ZZ ett

Printed Name: EK, ‘chert Pe Love LL

Date of Birth: 7 ~ 50 “EY

 
